Case 1:19-cv-25226-MGC Document 11 Entered on FLSD Docket 02/18/2020 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                   CASE NO.: 19-cv-25226-MGC
  WINDY LUCIUS,

         Plaintiff,

  v.

  ABERCROMBIE & FITCH STORES, INC.,

         Defendant.
                                                /

                                   NOTICE OF SETTLEMENT

         Plaintiff Windy Lucius (“Plaintiff”) respectfully submits this Notice of Settlement, and

  informs the Court as follows:

         1.      Plaintiff has reached an agreement with Defendant Abercrombie & Fitch Stores,

  Inc. (“Defendant”) to resolve the claims against it.

         2.      The parties are in the process of finalizing a confidential settlement agreement and

  will be filing a Notice of Dismissal with the Court shortly.

  Dated: February 18, 2020

                                                Respectfully submitted,


                                                /s/ J. Courtney Cunningham
                                                J. Courtney Cunningham, Esq.
                                                J. COURTNEY CUNNINGHAM, PLLC
                                                FBN: 628166
                                                8950 SW 74th Court, Suite 2201
                                                Miami, FL 33156
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                                                cc@cunninghampllc.com
Case 1:19-cv-25226-MGC Document 11 Entered on FLSD Docket 02/18/2020 Page 2 of 2




                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 18, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using the CM/ECF system.

                                            /s/ J. Courtney Cunningham
                                            J. Courtney Cunningham, Esq.




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